  Case 15-16758-ABA              Doc 55     Filed 02/06/20 Entered 02/06/20 08:58:01              Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

ISABEL C. BALBOA
CHAPTER 13 STANDING TRUSTEE
CHERRY TREE CORPORATE CENTER
535 ROUTE 38, SUITE 580
CHERRY HILL, NJ 08002




                                                                         Case No.:       15-16758
In Re:
                                                                         Chapter:        13

Tarvel D. Johnson                                                           Judge:     ABA




                                 NOTICE DEPOSITING UNCLAIMED FUNDS
                                    PURSUANT TO D.N.J. LBR 3011-1(a)
  ISABEL C. BALBOA, Trustee in the above captioned matter states that the entire amount in Isabel C.
  Balboa the trustee’s account has been disbursed and that the following funds remain unclaimed. The
  undersigned will immediately forward a check to the court in the amount of $20.64 payable to the Clerk,
  United States Bankruptcy Court. The parties entitled to said funds are listed below together with their last
  known address.

                                 PAYEE NAME AND                                           AMOUNT
                                    ADDRESS


         Ditech Financial, LLC                                                   $2,745.00

         P.O. Box 0049
         Palatine, IL 60055-00409




  Date: February 6, 2020                                                 /s/ Isabel C. Balboa, Trustee

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